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AO 91 (Rev. l ltl l) Ctiminal Cen'iplaint

 

 

 

 

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UNITED STATES DISTRICT CoURT w@‘a"§'§§§§w”l%"m
for the 1 _
Southern District of Texas JUN b 2018
United States ofArnerica ) David J.Bradl€y,Clel'k ofcollrl
v. )
ANTHONY cHuKWUDl NWOSAH § Ca$€ NO- H 1 8 .... 6 §§ 7 § M
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)
Defendam(s)
CRIMINAL COMPLAINT
l, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(S) of F€bfual'y 21, 2012 - JU|‘! 19, 2017 in the county of HE|TiS in the
Southern District of Texas , the defendant(s) violated:
Code Section ij?znse Descrtptfon
Tit|e 18 U.S.C. Section 1349 Conspiracy to commit health care fraud
Title 18 U.S.C_ Section 1347 Hea|th Care Fraud

This criminal complaint is based on these facts:

See attached Atfidavit, incorporated by reference as if fully described herein.

E{ Continued on the attached sheet.

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Erin Whittington, Speeia| Agent

Prr`nted frame and title

 

Sworn to before me and signed in my presence

Daie: …

City and grate; Ho uston, Texas

 

  

ua:?éwture
Nancy K. Johns US N|agistrete Judge

Prt'nted name and title

 

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THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION
AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
l, Erin Whittington, being duly sworn upon my oath, state as follows:
AFFIANT EXPERIENCE AND EMPLOYMENT

1. l am a Special Agent with the Department of Health and Human Services Office of
lnspector General_(HHS-OIG). l have been so employed since lune 2007. I have training and
experience in investigating violations of federal criminal law with an emphasis on health care
fraud. The facts set forth in this affidavit are based upon my personal observations, my training
and experience, and information relayed to me by other law enforcement officials

PURPOSE OF AFFIDAVIT

2. This affidavit is intended to support a criminal complaint for arrest, and does not
set forth all of my knowledge about this matter.

3. Based on affiant’s investigation into ANTHONY CHUKWUDI NWOSAH
(“NWOSAH”) owner of ROSENBERG EMS Corp. (“ROSENBERG”), it is affiant’s belief that
NWOSAH has engaged in violations of federal criminal law, including violations of Title 18,
United States Code, Section 1349 (conspiracy to commit health care iraud), and Title 18, United
States Code, Section 1347 (health care fraud).

BACKGROUND INFORMATION ON MEDICARE AMBULANCE SERVICES
4, Medicare Part B, also known as supplemental medical insurance, paid for a variety

of health care benefits, items, and services for qualified individuals enrolled in the Medicare

program An individual who enrolled in the Medicare program received a Medicare beneficiary

number.
[1]

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5. Medically necessary and reasonable ambulance services were a covered benefit
when they were provided to enrolled beneficiaries under certain circumstances Specifically,
Medicare intended to pay for non-emergency ambulance transportation services only when a
beneficiary at the time of transport could not be transported by any other means, such as taxi, private
automobile, Wheelchair van, or other vehicle, without endangering the individual’s health.
Additionally, Medicare intended to pay for non-emergency ambulance services only for bed-
confined beneficiaries who could not get up from bed without assistance, who could not ambulate
(walk), and who could not sit in a chair or wheelchair, before, during, and after the transport

6. Medicare required enrolled health care providers to use the Healthcare Comrnon
Procedure Coding System (“HCPCS”) to process claims in an orderly and consistent manner. The
HCPCS code for basic life support, non-emergency ambulance transportation was A0428. The
HCPCS code for ambulance mileage was AO425.

PROBABLE CAUSE FOR COMPLAINT

7'. Affiant’s belief that NWOSAH has engaged in violations of federal criminal law,
including conspiracy to commit health care fraud and health care fraud are based on the following
facts and information:

S. Medicare business records show that NWOSAH became an owner of
ROSENBERG on or about February 21, 2012. They also show that NWOSAH applied for a
Medicare provider number f`or ROSENBERG on or about January 22, 2013. In applying for the
l\/ledicare provider number NWOSAH signed the Medicare Section 15 Certification agreeing not

to submit false and fraudulent claims on at least two occasions

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9. lnterviews with Medicare beneficiaries including “R.B.” “C.B.” “D.E.” “P.F.”
“J.G.” and “P.K.” revealed that NWOSAH submitted and caused to be submitted to Medicare
included claims for:

a. Medicare beneficiaries who were transported by vans and not transported by
ambulance;
b. Medicare beneficiaries who could safely be transported by non-ambulance
vehicles;
c. Medicare beneficiaries who were not bed-confined
lO. lnterviews with licensed EMT “I.A.,” whose name appeared on ROSENBERG
patient ambulance “run sheets” revealed that “I.A.” did not work for ROSENBERG and his name
had been forged on hundreds of fake patient records
ll. lnterviews with a licensed EMT “J.W.” whose name appeared on ROSENBERG
patient ambulance “run sheets” revealed that “J.W.” had created hundreds of fake patient records
at the direction of NWOSAH.

12. Review of hundreds of ROSENBERG ambulance “run sheets” revealed that the
Medicare beneficiaries for whom NWOSAl-I submitted ambulance transport claims did not sign the
ambulance “run sheets,” indicating receipt of the services

13. Review of the ROSENBERG Medicare claims data revealed that NWOSAH billed
Medicare and caused Medicare to be billed approximately $3,017,394.()0 for ambulance transport
services allegedly provided between January 7, 2013 and June 5, 2015, for approximately 19
Medicare beneficiaries NWOSAH received approximately $1,094,260.00 as payment for those

claims

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CONCLUSION
14. Based on the evidence gathered during the investigation and the aforementioned
facts, affiant states there is probable cause to believe, and does believe, that ANTHONY
CHUKWUDI NWOSAH , along with others known and unknown, has violated Title 18, United
States Code, Section 1349 (conspiracy to commit health care fraud) and Title 18, United States

Code, Section 1347 (health care fraud) and respectfully requests the Court issue an arrest warrant

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l§rihN\/`hittington
Special Agent

HHS-OIG

upon a finding of probable cause.

Sworn to and Subscribed before me this g l day of l l@g 2018,

and I find Probable Cause.
§§l>d{:v
mted ates Ma istrate Judge

Southern Distnct of Texas

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